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                              UNITED STATES BANKRUPTCY COURT
                                 MIDDLE DISTRICT OF FLORIDA
                                      ORLANDO DIVISION
                                      www.flmb.uscourts.gov

In re:                              )                          Case No. 6:18-bk-6821-CCJ
                                    )
DON KARL JURAVIN,                   )                          Chapter 11
                                    )
      Debtor.                       )
___________________________________ )

     CHAPTER 11 CASE MANAGEMENT SUMMARY IN AN INDIVIDUAL CASE

         The Debtor, DON KARL JURAVIN (the “Debtor”), hereby files his Chapter 11 Case

Management Summary and states as follows:

                              I.     Description of the Debtor’s Business

         The Debtor is employed by United Medical Group International, Inc. as a sales and

marketing representative.

         The Debtor also owns several corporations:

                  (a)      Must Cure Obesity, Co. (100%);

                  (b)      Juravin, Incorporated (100%);

                  (c)      Roca Labs Nutraceutical USA, Inc. (100%); and

                  (d)      First Global Health Corporation (100%)

         The corporations are active with the Florida Department of State, Division of Corporations,

however, they are not conducting any significant business.

            II.         Location of Debtor’s Operations and Whether Leased or Owned

         The Debtor owns, as tenants by the entirety, homestead property located at 15118 Pendio

Drive, Montverde, Florida 34756.
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                                    III.      Reasons for Filing Chapter 11

          The Debtor filed a voluntary petition under Chapter 7 of the Bankruptcy Code on October

31, 2018, following the entry of a final judgment in the amount of $25,246,000.00, in an action by

the Federal Trade Commission, Case No. 8:15-cv-02231-MSS-TBM, that was pending in the

United States District Court, Middle District of Florida, Tampa Division.

                 IV.      List of officers and directors and their salaries and benefits
                        at the time of filing and during the 1 year prior to filing.

          N/A.

                                  V.        Debtor’s Annual Gross Revenues

          The Debtor’s annual gross income is approximately $196,2001.

                         VI.      Amounts Owed to Various Classes of Creditors

          Priority creditors. As of the petition date, the Debtor owed the Internal Revenue Service

approximately $111,000.00.

          Secured creditors. As of the petition date, the Debtor owed the following secured debts:

          (a)      PSR Developers, LLLP:               $1,312,894.00

          (b)      Bella Collina POA:                  $6,644.18

          (c)      Internal Revenue Services:          $180,000.00

          (d)      Mercedes Benz Financial:            $90,271.71

          (e)      Mercedes Benz Financial:            $43,443.28

          Unsecured creditors.             As of the Petition Date, the Debtor owed approximately

$25,925,795.02 in general unsecured claims, of which $25,246,000.00 arises from the final

judgment obtained by the Federal Trade Commission against the Debtor.


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    This is the Debtor’s annual gross income as of the conversion date, September 16, 2019.
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                  VII.   General Description and Approximate Value of the
                            Debtor’s Current and Fixed Assets

        The Debtor’s assets consist of ownership of his primary residence and the business entities

listed in Section I above. The total value of all of Debtor’s assets is approximately $1,800,000.00.

        VIII. Number of Employees and Amounts of Wages Owed as of Petition Date

        N/A.

                 IX.     Status of Debtor’s Payroll and Sales Tax Obligation

        N/A.

   X.      Anticipated Emergency Relief to be Requested Within 14 Days of Petition Date

        The Debtor does not anticipate filing any emergency motions.

                              XI.    Debtor’s Strategic Objectives

        The Debtor is in the process of weighing his various options and strategies to successfully

emerge from this Chapter 11 bankruptcy case.

                                CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a true and correct copy of the Chapter 11 Case Management

Summary was served via the CM/ECF or by U.S. Mail, first class and postage prepaid, on all

Parties-In-Interest listed on the attached Mailing Matrix, this 29th day of September, 2019.


                                              __/s/ Aldo G. Bartolone, Jr._______
                                              ALDO G. BARTOLONE, JR.
                                              Florida Bar No. 173134
                                              BARTOLONE LAW, PLLC
                                              1030 N. Orange Ave., Suite 300
                                              Orlando, Florida 32801
                                              Telephone: (407) 294-4440
                                              Facsimile: (407) 287-5544
                                              E-mail: aldo@bartolonelaw.com
                                              Attorneys for Debtor
                               Case 6:18-bk-06821-KSJ      Doc 181          Filed 09/29/19   Page 4 of 5
Label Matrix for local noticing              Bella Collina Property Owner’s Associat          DCS Real Estate Investments, LLC
113A-6                                       c/o Becker & Poliakoff                           636 U.S. Hwhy One
Case 6:18-bk-06821-CCJ                       100 Whetstone Place                              Suite 100
Middle District of Florida                   Suite 302                                        North Palm Beach, FL 33408-4611
Orlando                                      Saint Augustine, FL 32086-5775
Sun Sep 29 18:36:18 EDT 2019
Mercedes-Benz Financial Services USA LLC     Anna Juravin                                     Bella Collina Property Owner’s Associat
c/o Ed Gezel                                 15118 Pendio Drive                               c/o William C Matthews, Esq.
Bk Servicing, LLC                            Montverde, FL 34756-3606                         Shutts & Bowen LLP
PO Box 131265                                                                                 300 S. Orange Avenue, Suite 1600
Roseville, MN 55113-0011                                                                      Orlando, FL 32801-3382

Bella Collina Property Owners Assoc Inc.     Ben-Zvi Law Firm                                 Carl H. Settlemyer, III, Esq.
c/o Aegis Community Mgmt Solutions, Inc.     23 Bar-Cochva                                    Federal Trade Commission
8390 Championsgate Blvd., Suite 304          Bnei-Brak, Israel                                600 Pennsylvania Avenue NW
Championsgate, FL 33896-8313                                                                  Mail Drop CC-10528
                                                                                              Washington, DC 20580-0001

Citibank, N.A.                               Consumer Opinion Corp.                           DCS Real Estate Investments, LLC
701 East 60th Street North                   c/o Randazza Legal Group                         c/o David M. Landis, Esq.
Sioux Falls, SD 57104-0493                   2764 Lake Sahara Drive, Suite 109                PO Box 2854
                                             Las Vegas, NV 89117-3400                         Orlando, FL 32802-2854


Dr. Free                                     (p)FEDERAL TRADE COMMISSION                      Florida Department of Revenue
11 Walnut Street, #12350                     ASSOCIATE DIRECTOR                               Bankruptcy Unit
Green Cove Springs, FL 32043                 DIVISION OF ENFORCEMENT                          Post Office Box 6668
                                             600 PENNSYLVANIA AVE NW MAIL DROP NJ-2122        Tallahassee FL 32314-6668
                                             WASHINGTON DC 20580-0001

Internal Revenue Service                     Internal Revenue Service                         Julia Kalatusha
Centralized Insolvency Operation             PO Box 7346                                      32 Borochov
Post Office Box 7346                         Philadelphia, PA 19101-7346                      Tel Aviv, Israel
Philadelphia, PA 19101-7346


Juvarin, Inc.                                Karan Arora                                      Lake County Tax Collector
P. O. Box 560510                             12815 NW 45th Avenue                             Attn: Bob McKee
Montverde, FL 34756-0510                     Opa Locka, FL 33054-5100                         Post Office Box 327
                                                                                              Tavares FL 32778-0327


Mercedes-Benz Financial                      Mercedez-Benz Financial                          Must Cure Obesity Co.
P. O. Box 961                                PO Box 961                                       15118 Pendio Drive
Roanoke, TX 76262-0961                       Roanoke, TX 76262-0961                           Montverde, FL 34756-3606



Noam Ben Zvi                                 Opinion Corp.                                    PSR Developers, LLLP
10/93 Rishon Lezion Street                   c/o Randazza Legal Group                         3900 Centennial Drive
Petachtiachba, Israel                        2764 Lake Sahara Drive, Suite 109                Suite C
                                             Las Vegas, NV 89117-3400                         Midland, MI 48642-5996


Paul B. Spelman, Esq.                        Secretary of the Treasury                        Shay Zuckerman
Federal Trade Commission                     15th & Pennsylvania Ave., NW                     8 Babli Street
600 Pennsylvania Avenue NW                   Washington, DC 20220-0001                        Tel Aviv, Israel
Mail Drop CC-10528
Washington, DC 20580-0001
                               Case 6:18-bk-06821-KSJ                Doc 181          Filed 09/29/19      Page 5 of 5
U.S. Securities and Exchange Commission                United States Attorney                               United States Trustee - ORL7/13
Office of Reorganization                               300 North Hogan St Suite 700                         Office of the United States Trustee
950 East Paces Ferry Road, N.E.                        Jacksonville, FL 32202-4204                          George C Young Federal Building
Suite 900                                                                                                   400 West Washington Street, Suite 1100
Atlanta, GA 30326-1382                                                                                      Orlando, FL 32801-2210

Zuckerman & Co.                                        Aldo G Bartolone Jr                                  Dennis D. Kennedy
c/o Shay Zuckerman                                     Bartolone Law, PLLC                                  Post Office Box 541848
HaYarkon St. 113                                       1030 North Orange Avenue, Suite 300                  Merritt Island, FL 32954-1848
Tel Aviv, Israel                                       Orlando, FL 32801-1004


Don Karl Juravin                                       Hal Levenberg                                        Robert H Ewald
15118 Pendio Drive                                     Yip Associates                                       Ewald Enterprises, Inc.
Montverde, FL 34756-3606                               One Biscayne Tower                                   12472 Lake Underhill Road
                                                       2 S. Biscayne Boulevard, Suite 2690                  Suite 312
                                                       Miami, FL 33131-1815                                 Orlando, FL 32828-7144



                     The preferred mailing address (p) above has been substituted for the following entity/entities as so specified
                     by said entity/entities in a Notice of Address filed pursuant to 11 U.S.C. 342(f) and Fed.R.Bank.P. 2002 (g)(4).


Federal Trade Commission
600 Pennsylvania Avenue NW
Mail Crop CC-10528
Washington, DC 20580




                 The following recipients may be/have been bypassed for notice due to an undeliverable (u) or duplicate (d) address.


(u)Consumer Opinion Corp.                              (u)Opinion Corp.                                     (d)Florida Dept. of Revenue
                                                                                                            Bankruptcy Unit
                                                                                                            P.O. Box 6668
                                                                                                            Tallahassee, FL 32314-6668


(d)Internal Revenue Service                            (d)Mercedes-Benz Financial                           End of Label Matrix
Post Office Box 7346                                   PO Box 961                                           Mailable recipients   38
Philadelphia PA 19101-7346                             Roanoke, TX 76262-0961                               Bypassed recipients    5
                                                                                                            Total                 43
